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                           Exhibit 1
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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

   In re FIRSTENERGY CORP. SECURITIES           )   No. 2:20-cv-03785-ALM-KAJ
   LITIGATION                                   )
                                                )   CLASS ACTION
                                                )
   This Document Relates To:                    )   Judge Algenon L. Marbley
                                                )   Magistrate Judge Kimberly A. Jolson
   ALL ACTIONS                                  )
                                                )
   MFS Series Trust I, et al.,                  )   Case No. 2:20-cv-03785-ALM-KAJ
                                                )
                          Plaintiff,            )
                                                )
          vs.                                   )
                                                )
                                                )
   FirstEnergy Corp., et al.,                   )
                                                )
                          Defendant.            )

                                                )
   Brighthouse Funds Trust II – MFS Value       )   Case No. 2:20-cv-03785-ALM-KAJ
   Portfolio, et al.,                           )
                                                )
                          Plaintiffs,           )
                                                )
          vs.                                   )
                                                )
                                                )
   FirstEnergy Corp., et al.,                   )
                                                )
                          Defendant.            )



                           DECLARATION OF JAMES F. O’NEIL, III
Case:2:20-cv-03785-ALM-KAJ
Case: 2:20-cv-03785-ALM-KAJDoc
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                    I, James F. O’Neil, III, hereby declare under penalty of perjury as follows:

            1.      I am an independent director serving on FirstEnergy Corp.’s Board of Directors. I

  have been a member of the Board since January 17, 2017.

            2.      I am currently the Chair of the Board’s Compensation Committee and have been

  since May 2019, and I have been a member of the Board’s Audit Committee since May 2022. I

  was also a member of the Audit Committee from May 2017 to May 2019. I previously served as

  the Chair of the Board’s Audit Committee from May 2018 to May 2019, and I was a member of

  the Board’s Operations and Safety Oversight Committee (formerly, the Nuclear Committee) from

  May 2017 to May 2022.

     I.          Householder Criminal Complaint and the Legal Actions Against FirstEnergy

            3.      On July 21, 2020, the United States Department of Justice (DOJ) arrested former

  Speaker of the Ohio House of Representatives Larry Householder and unsealed a criminal

  complaint (the “Householder Complaint”) alleging that Householder was a member of a criminal

  enterprise that helped pass Ohio House Bill 6, known as H.B. 6, in exchange for payments from

  an unnamed company. The Householder Complaint alleged that senior officers of that unnamed

  company had participated in this criminal enterprise. This was brought to the attention of directors

  rapidly because FirstEnergy management, as well as financial analysts and the media, understood

  that the unnamed company referred to FirstEnergy.

            4.      The same day, FirstEnergy received grand jury subpoenas in connection with the

  DOJ’s criminal investigation into Householder and the alleged criminal enterprise concerning

  H.B. 6.

            5.      After the DOJ unsealed the Householder Complaint, Board members and

  FirstEnergy anticipated that the Company would face government investigations, civil litigation,

  and regulatory proceedings related to the Company’s role in the alleged events described in the

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  Householder Complaint. By the next day, July 22, 2020, the price of FirstEnergy’s common stock

  had declined by 34%. Board members and FirstEnergy anticipated that the drop in FirstEnergy’s

  stock price would trigger the filing of claims under the federal securities laws, as commonly occurs

  when public companies experience sharp stock declines following negative news.

           6.    Numerous legal proceedings were commenced within weeks of the unsealing of the

  Householder Complaint, including this lawsuit and the lawsuits described below, all of which

  stemmed from the allegations in the Householder Complaint. Some examples of these legal

  proceedings are described below.

           7.    On July 26, 2020, stockholders of FirstEnergy filed a shareholder derivative action

  against FirstEnergy directors and officers in Ohio state court, alleging, among other things,

  breaches of fiduciary duty.

           8.    On July 27, 2020, utilities customers of FirstEnergy filed a class action asserting

  civil Racketeer Influenced and Corrupt Organizations Act claims against FirstEnergy in federal

  court.

           9.    On July 28, 2020, a stockholder of FirstEnergy filed a class action lawsuit asserting

  that FirstEnergy and its senior executives violated federal securities fraud laws, which I understand

  was the first-filed complaint in this action. On July 28, 2020, I also received a notification that

  FirstEnergy had instituted a litigation hold for documents related to the allegations in the

  Householder Complaint.

           10.   By August 7, 2020, as FirstEnergy publicly disclosed, eight civil lawsuits were

  already pending against FirstEnergy in state and federal courts relating to the allegations in the

  Householder Complaint and the DOJ’s investigation into H.B. 6.




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           11.      On August 10, 2020, FirstEnergy received a formal order of investigation from the

  U.S. Securities and Exchange Commission (SEC) relating to the allegations in the Householder

  Complaint.

     II.         The Squire Investigation for the Special Investigation Committee and the
                 Independent Review Committee

           12.      In late July 2020, the Board held several special meetings to discuss the Company’s

  response to the DOJ criminal investigation and litigation filed against FirstEnergy.

           13.      By July 25, 2020, the Board had decided to retain Squire Patton Boggs LLP to

  conduct an internal investigation into the allegations in the Householder Complaint. The Board

  chose Squire because it did not regularly engage in legal work for FirstEnergy and because Squire

  had substantial experience conducting internal investigations. Joseph Walker, the lead partner on

  the Squire investigation team, was a former criminal prosecutor with the DOJ and, as a partner at

  Squire, had led numerous internal investigations for large institutions.

           14.      Shortly thereafter, on or around July 28, 2020, the Board authorized the formation

  of a Special Investigation Committee (“SIC”).

           15.      The Board formed the SIC to provide independent oversight over Squire’s internal

  investigation of the allegations in the Householder Complaint.

           16.      The members of the SIC were all independent directors (i.e., directors who were

  not part of FirstEnergy management). I was one of the ten independent directors who were

  members of the SIC.

           17.      On or around July 28, 2020, the SIC formally engaged Squire to conduct the

  internal investigation. The SIC met frequently with Squire to discuss Squire’s investigative

  findings, legal analyses, and assessments of potential criminal and civil liability.




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            18.      On or around September 8, 2020, after the SIC had completed its work on the initial

  phase of the internal investigation, the Board formed the Independent Review Committee (“IRC”).

            19.      Like the SIC, the IRC was exclusively comprised of independent directors, and I

  was one of the twelve independent directors that comprised the IRC. The IRC was formed to

  provide ongoing independent oversight of counsel’s investigative work and ongoing review and

  assessment of the legal risks associated with the allegations in the Householder Complaint, the

  DOJ criminal investigation, the SEC investigation, and other pending and anticipated legal

  proceedings.

            20.      The IRC engaged Squire to continue its investigative work and to advise the IRC

  on the risks described above.

            21.      The IRC met frequently with Mr. Walker and other Squire attorneys to discuss

  Squire’s investigative findings, legal analyses, and assessments of potential criminal and civil

  liability. Squire continued to advise the IRC until at least June 2021.

     III.         The Jones Day Investigation for FirstEnergy

            22.      On or around July 22, 2020, FirstEnergy retained Jones Day to advise the Company

  on its response to the DOJ criminal investigation and to conduct an internal investigation into the

  allegations in the Householder Complaint.

            23.      Stephen Sozio led the Jones Day team. Prior to joining Jones Day, Mr. Sozio spent

  ten years as an investigating prosecutor for the Organized Crime Strike Force Unit of the U.S.

  Attorney’s Office for the Northern District of Ohio. As a partner at Jones Day, Mr. Sozio had

  conducted numerous internal investigations in response to federal and state criminal and regulatory

  investigations.

            24.      The Jones Day internal investigation was independent of and separate from the

  Squire investigation.

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           25.      FirstEnergy also retained Jones Day to represent the Company in many of the

  lawsuits related to the allegations in the Householder Complaint and to advise the Company on its

  response to the SEC investigation.

     IV.         The Reasons for the Investigations

           26.      I understand that Plaintiffs in this action, plaintiffs in other related lawsuits against

  FirstEnergy, and two defendants in this action (Charles Jones, FirstEnergy’s former Chief

  Executive Officer, and Michael Dowling, FirstEnergy’s former Senior Vice President of External

  Affairs) (together, “Movants”) have claimed that the internal investigations by FirstEnergy and its

  Board committees were not undertaken because of the DOJ criminal investigation and the pending

  and anticipated litigation, but that instead the investigations were undertaken for various business

  reasons.

           27.      This is not correct. Squire was retained by the SIC and the IRC, and Jones Day

  was retained by FirstEnergy, to conduct internal investigations in response to the DOJ criminal

  investigation and the pending and anticipated litigation matters described above, which include

  this securities class action. These investigations were not undertaken to appease PwC or because

  of concerns about raising capital, as I understand Movants suggest.

           28.      As the internal investigations unfolded, the information and facts that Squire and

  Jones Day discovered through their investigative work were used to help inform employment

  decisions, and those firms also provided legal advice to assist the IRC in making legally sound

  employment decisions. But any employment-related issues were ancillary and not the primary

  reason for engaging these firms or for their investigatory work.

           29.      Were it not for the DOJ criminal investigation and pending litigation in late July

  2020—and further anticipated litigation and regulatory proceedings, which later materialized—

  the internal investigations would not have been undertaken. The internal investigations were

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                           Exhibit 2
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                          IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

    In re FIRSTENERGY CORP. SECURITIES           )   No. 2:20-cv-03785-ALM-KAJ
    LITIGATION                                   )
                                                 )   CLASS ACTION
                                                 )
    This Document Relates To:                    )   Judge Algenon L. Marbley
                                                 )   Magistrate Judge Kimberly A. Jolson
    ALL ACTIONS                                  )
                                                 )
    MFS Series Trust I, et al.,                  )   Case No. 2:20-cv-03785-ALM-KAJ
                                                 )
                           Plaintiff,            )
                                                 )
           vs.                                   )
                                                 )
                                                 )
    FirstEnergy Corp., et al.,                   )
                                                 )
                           Defendant.            )

                                                 )
    Brighthouse Funds Trust II – MFS Value       )   Case No. 2:20-cv-03785-ALM-KAJ
    Portfolio, et al.,                           )
                                                 )
                           Plaintiffs,           )
                                                 )
           vs.                                   )
                                                 )
                                                 )
    FirstEnergy Corp., et al.,                   )
                                                 )
                           Defendant.            )



                            DECLARATION OF JAMES F. O’NEIL, III
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                     I, James F. O’Neil, III, hereby declare under penalty of perjury that the following

   is true and correct:

             1.      I am an independent director serving on FirstEnergy Corp.’s Board of Directors. I

   have been a member of the Board since January 17, 2017.

             2.      I am currently the Chair of the Board’s Compensation Committee and have been

   since May 2019, and I have been a member of the Board’s Audit Committee since May 2022. I

   was also a member of the Audit Committee from May 2017 to May 2019. I previously served as

   the Chair of the Board’s Audit Committee from May 2018 to May 2019, and I was a member of

   the Board’s Operations and Safety Oversight Committee (formerly, the Nuclear Committee) from

   May 2017 to May 2022.

       I.         Householder Criminal Complaint and the Legal Actions Against FirstEnergy

             3.      On July 21, 2020, the United States Department of Justice (DOJ) arrested former

   Speaker of the Ohio House of Representatives Larry Householder and unsealed a criminal

   complaint (the “Householder Complaint”) alleging that Householder was a member of a criminal

   enterprise that helped pass Ohio House Bill 6, known as H.B. 6, in exchange for payments from

   an unnamed company. The Householder Complaint alleged that senior officers of that unnamed

   company had participated in this criminal enterprise. This was brought to the attention of directors

   rapidly because FirstEnergy management, as well as financial analysts and the media, understood

   that the unnamed company referred to FirstEnergy.

             4.      The same day, FirstEnergy received grand jury subpoenas in connection with the

   DOJ’s criminal investigation into Householder and the alleged criminal enterprise concerning

   H.B. 6.

             5.      After the DOJ unsealed the Householder Complaint, Board members and

   FirstEnergy anticipated that the Company would face government investigations, civil litigation,

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   and regulatory proceedings related to the Company’s role in the alleged events described in the

   Householder Complaint. By the next day, July 22, 2020, the price of FirstEnergy’s common stock

   had declined by 34%. Board members and FirstEnergy anticipated that the drop in FirstEnergy’s

   stock price would trigger the filing of claims under the federal securities laws, as commonly occurs

   when public companies experience sharp stock declines following negative news.

            6.    Numerous legal proceedings were commenced within weeks of the unsealing of the

   Householder Complaint, including this lawsuit and the lawsuits described below, all of which

   stemmed from the allegations in the Householder Complaint. Some examples of these legal

   proceedings are described below.

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   against FirstEnergy directors and officers in Ohio state court, alleging, among other things,

   breaches of fiduciary duty.

            8.    On July 27, 2020, utilities customers of FirstEnergy filed a class action asserting

   civil Racketeer Influenced and Corrupt Organizations Act claims against FirstEnergy in federal

   court.

            9.    On July 28, 2020, a stockholder of FirstEnergy filed a class action lawsuit asserting

   that FirstEnergy and its senior executives violated federal securities fraud laws, which I understand

   was the first-filed complaint in this action. On July 28, 2020, I also received a notification that

   FirstEnergy had instituted a litigation hold for documents related to the allegations in the

   Householder Complaint.

            10.   By August 7, 2020, as FirstEnergy publicly disclosed, eight civil lawsuits were

   already pending against FirstEnergy in state and federal courts relating to the allegations in the

   Householder Complaint and the DOJ’s investigation into H.B. 6.



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            11.      On August 10, 2020, FirstEnergy received a formal order of investigation from the

   U.S. Securities and Exchange Commission (SEC) relating to the allegations in the Householder

   Complaint.

      II.         The Squire Investigation for the Special Investigation Committee and the
                  Independent Review Committee

            12.      In late July 2020, the Board held several special meetings to discuss the Company’s

   response to the DOJ criminal investigation and litigation filed against FirstEnergy.

            13.      By July 25, 2020, the Board had decided to retain Squire Patton Boggs LLP to

   conduct an internal investigation into the allegations in the Householder Complaint. The Board

   chose Squire because it did not regularly engage in legal work for FirstEnergy and because Squire

   had substantial experience conducting internal investigations. Joseph Walker, the lead partner on

   the Squire investigation team, was a former criminal prosecutor with the DOJ and, as a partner at

   Squire, had led numerous internal investigations for large institutions.

            14.      Shortly thereafter, on or around July 28, 2020, the Board authorized the formation

   of a Special Investigation Committee (“SIC”).

            15.      The Board formed the SIC to provide independent oversight over Squire’s internal

   investigation of the allegations in the Householder Complaint.

            16.      The members of the SIC were all independent directors (i.e., directors who were

   not part of FirstEnergy management). I was one of the ten independent directors who were

   members of the SIC.

            17.      On or around July 28, 2020, the SIC formally engaged Squire to conduct the

   internal investigation. The SIC met frequently with Squire to discuss Squire’s investigative

   findings, legal analyses, and assessments of potential criminal and civil liability.




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             18.      On or around September 8, 2020, after the SIC had completed its work on the initial

   phase of the internal investigation, the Board formed the Independent Review Committee (“IRC”).

             19.      Like the SIC, the IRC was exclusively comprised of independent directors, and I

   was one of the twelve independent directors that comprised the IRC. The IRC was formed to

   provide ongoing independent oversight of counsel’s investigative work and ongoing review and

   assessment of the legal risks associated with the allegations in the Householder Complaint, the

   DOJ criminal investigation, the SEC investigation, and other pending and anticipated legal

   proceedings.

             20.      The IRC engaged Squire to continue its investigative work and to advise the IRC

   on the risks described above.

             21.      The IRC met frequently with Mr. Walker and other Squire attorneys to discuss

   Squire’s investigative findings, legal analyses, and assessments of potential criminal and civil

   liability. Squire continued to advise the IRC until at least June 2021.

      III.         The Jones Day Investigation for FirstEnergy

             22.      On or around July 22, 2020, FirstEnergy retained Jones Day to advise the Company

   on its response to the DOJ criminal investigation and to conduct an internal investigation into the

   allegations in the Householder Complaint.

             23.      Stephen Sozio led the Jones Day team. Prior to joining Jones Day, Mr. Sozio spent

   ten years as an investigating prosecutor for the Organized Crime Strike Force Unit of the U.S.

   Attorney’s Office for the Northern District of Ohio. As a partner at Jones Day, Mr. Sozio had

   conducted numerous internal investigations in response to federal and state criminal and regulatory

   investigations.

             24.      The Jones Day internal investigation was independent of and separate from the

   Squire investigation.

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            25.      FirstEnergy also retained Jones Day to represent the Company in many of the

   lawsuits related to the allegations in the Householder Complaint and to advise the Company on its

   response to the SEC investigation.

      IV.         The Reasons for the Investigations

            26.      I understand that Plaintiffs in this action, plaintiffs in other related lawsuits against

   FirstEnergy, and two defendants in this action (Charles Jones, FirstEnergy’s former Chief

   Executive Officer, and Michael Dowling, FirstEnergy’s former Senior Vice President of External

   Affairs) (together, “Movants”) have claimed that the internal investigations by FirstEnergy and its

   Board committees were not undertaken because of the DOJ criminal investigation and the pending

   and anticipated litigation, but that instead the investigations were undertaken for various business

   reasons.

            27.      This is not correct. Squire was retained by the SIC and the IRC, and Jones Day

   was retained by FirstEnergy, to conduct internal investigations in response to the DOJ criminal

   investigation and the pending and anticipated litigation matters described above, which include

   this securities class action. These investigations were not undertaken to appease PwC or because

   of concerns about raising capital, as I understand Movants suggest.

            28.      As the internal investigations unfolded, the information and facts that Squire and

   Jones Day discovered through their investigative work were used to help inform employment

   decisions, and those firms also provided legal advice to assist the IRC in making legally sound

   employment decisions. But any employment-related issues were ancillary and not the primary

   reason for engaging these firms or for their investigatory work.

            29.      Were it not for the DOJ criminal investigation and pending litigation in late July

   2020—and further anticipated litigation and regulatory proceedings, which later materialized—

   the internal investigations would not have been undertaken. The internal investigations were

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   undertaken because the Company was directly responding to the very significant legal risk it

   suddenly faced and that rapidly expanded over the course of a few days, and then continued to

   grow over the coming weeks and months. FirstEnergy’s independent board committees and

   management relied heavily on the work and expertise of Squire and Jones Day to navigate and

   manage these risks.

          30.     During the internal investigations, neither Squire nor Jones Day was authorized to

   waive attorney-client privilege or work product protection. Squire and Jones Day were authorized

   to respond to inquiries from FirstEnergy’s auditor, PricewaterhouseCoopers (“PwC”), but without

   waiver of attorney-client privilege or work product protection. As an independent auditor, PwC

   is required to assess the adequacy of the Company’s internal controls over financial reporting and

   the Company’s public disclosures on those matters in its financial statements. PwC’s evaluation

   was necessarily intertwined with matters raised in the DOJ criminal investigation related to H.B.

   6 and the ensuing litigation. The Board committees and FirstEnergy understood that responses to

   PwC’s inquiries could require confidential disclosure to PwC of information uncovered in the

   investigations or, if necessary, confidential disclosure of attorney work product from the

   investigations, without waiving work product protection.

          31.     On July 26, 2023, I executed a declaration identical to this one, except for this

   paragraph and the two sentences following this paragraph, as well as the lead-in clause to the

   declaration. I declared all statements in my July 26, 2023 declaration to be made “under penalty

   of perjury,” which I understood to mean that I was declaring all of those statements to be true and

   correct. All of the statements in my July 26, 2023 declaration were true and correct when made,

   and remain true and correct today.

                  I declare under penalty of perjury that the foregoing is true and correct.



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               Executed in Houston, Texas on December 7, 2023.




                                                  James F. O’Neil, III




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